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                                         T · TES DISTRICT COURT
                                        , 1' OF CONNECTICUT

UN1TED STATES                                         0?    'riminal No. 3: L9 R   Q~virs)
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                             ~ ,'>:~··, 1..•;:-;- l\ : VIOLATIONS:
                                 '   • ,I   ,I   1.
              V.                                           18 U.S.C. § 371
                                                           (Conspiracy)
JAMES O'NEIL                                               18 U.S.C. § 2314
                                                           (Interstate Transportation of Stolen
                                                            Property)

                                            INDICTMENT

      The Grand Jury charges:

                                            COUNT ONE
                                            (Conspiracy)

      1.      Beginning in approximately May 2015 and continuing until at least

August 2018, the precise dates being unknown to the Grand Jury, in the District of

Connecticut and elsewhere, the defendant JAMES O'NEIL ("O'NEIL") did

unlawfully, knowingly, and intentionally combine, conspire, confederate, and agree

with others, both known and unknown to the Grand Jury, to commit an offense

against the United States, that is, to transport, transmit, and transfer in interstate

and foreign commerce any stolen goods, wares, and merchandise having a value of

$5,000 or more, knowing the same had been stolen, converted, and taken by fraud, in

violation of Title 18, United States Code, Section 2314.

                              Purpose of the Conspiracy

      2.      The purpose of the conspiracy was for O'NEIL and his co-conspirators to

enrich themselves by stealing rims and tires off luxury vehicles and then

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transporting, transmitting, and selling the property to others in the United States,

and to conceal the conspiracy from others.

                          Manner and Means of the Conspiracy

      The manner and means by which O'NEIL and his co-conspirators sought to

accomplish and did accomplish the objects of the conspiracy included, among others,

the following:

      3.      It was part of the conspiracy that O'NEIL and his co-conspirators would

target car dealerships in Northeast United States that they could steal rims and tires

from high end vehicles.

      4.      It was further part of the conspiracy that O'NEIL and his co-

conspirators would steal rims and tires from car dealerships late at night when the

car dealerships were closed to the public.

      5.      It was further part of the conspiracy that O'NEIL and his co-

conspirators would steal multiple sets of rims and tires from the car dealerships in

Connecticut, Rhode Island, New York, and Maine and transport the stolen goods

across state lines, including to and from the District of Connecticut.

      6.      It was further part of the conspiracy that O'NEIL and his co-

conspirators would sell the stolen rims and tires to customers at a discounted price,

and then share in the proceeds of the theft.




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                                       Overt Acts

      7.       In furtherance of the conspiracy and to effect the objects of the

conspiracy, O'NEIL and his co-conspirators, both known and unknown to the Grand

Jury, committed and caused to be committed the following overt acts, among others,

in the District of Connecticut and elsewhere:

      a.       On or about May 8, 2015, a co-conspirator, whose identity is known to
               the Grand Jury, was arrested with burglary tools at a car dealership in
               Massachusetts;

      b.       On or about March 1, 2016, a co-conspirator, whose identity is known to
               the Grand Jury, stole rims and tires from a car dealership located in
               Waterbury, Connecticut;

      c.       On or about April 17, 2016, O'NEIL and a co-conspirator stole rims and
               tires from a car dealership located in Bedford, New York;

      d.       On or about September 2, 2016, O'NEIL and a co-conspirator stole rims
               and tires from a car dealership located in Johnston, Rhode Island;

      e.       On or about September 6, 2016, O'NEIL and a co-conspirator stole rims
               and tires from a car dealership located in Johnston, Rhode Island;

      f.       On or about September 7, 2016, O'NEIL and a co-conspirator stole rims
               and tires from a car dealership located in Johnston, Rhode Island;

      g.       On or about January 21, 2017, O'NEIL and a co-conspirator stole rims
               and tires from a car dealership located in Darien, Connecticut; and

      h.       On or about August 18, 2018, O'NEIL and a co-conspirator stole rims
               and tires from a car dealership located in Portland, Maine.

      All in violation of Title 18, United States Code, Section 371.




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                                        COUNT TWO
                        (Interstate Transportation of Stolen Property)

         8.      The allegations in paragraphs 1 through 7 of this Information are re-

alleged.

         9.       On or about August 1, 2016, in the District of Connecticut, the defendant

JAMES O'NEIL and others did unlawfully transport, transmit, and transfer in

interstate and foreign commerce, and aided and abetted one another to do the same,

stolen goods, wares, and merchandise, that is, stolen automobile rims and tires that

O'NEIL and others stole from an automobile dealership in Darien, Connecticut, and

then resold, shipped, and delivered from Connecticut to customers outside of

Connecticut, of the value of $5,000 or more, knowing the same to have been stolen,

converted, and taken by fraud.

         In violation of Title 18, United States Code, Sections 2314 and 2.




                                                                         /s/
JO
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ASSISTANT UNITED STATES ATTORNEY




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